   Case 2:18-cr-00014-LGW-BWC Document 608 Filed 02/06/19 Page 1 of 1

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                     J^runsitDicfe ©fbisiion            ^kohTwrn^
UNITED STATES OF AMERICA,


     V.



ANDREW JACKSON,
                                                 CR 2:18-014
     Defendant.




                                 ORDER




     Defendant was indicted on two counts.       Because of the pending

criminal charges. Defendant was required to turn in his passport.

A jury acquitted   Defendant on both counts.         No charges remain

against Defendant.     Defendant now moves for the return of his

passport.    Dkt. No. 599.    Upon consideration of the request by

Defendant, said request is hereby GRANTED.


     IT IS HEREBY ORDERED that Defendant's passport be returned

to him.



    so ORDERED, this 5th day of February, 2019.




                                 HON. LISA GODBEY WOOD, JUDGE
                                 UNITED STATES   DISTRICT COURT
                                 SOUTHERN   DISTRICT OF GEORGIA
